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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LIONEL ANTONIO CRUZ CORTES, et al.        *
                                          *
      PLAINTIFFS,                         *
                                          *
v.                                        *     Case No.: 1:18-cv-00500-CRC
                                          *
SAIGON KITCHEN, INC., et al.              *
                                          *
      DEFENDANTS.                         *
******************************************************************************
              JOINT NOTICE OF ACCEPTANCE OF DEFENDANTS’
                             OFFER OF JUDGMENT

       The Parties, by their undersigned counsel, hereby notify the Court that Plaintiffs, by their

undersigned counsel, hereby give written notice of their acceptance of the Rule 68 Offer of

Judgment issued by Defendants, Saigon Kitchen, Inc. Lan Vu, and Phong Tran, attached hereto as

Exhibit A, in the total sum of $18,000.000, exclusive of attorney fees and costs. The Parties agree

that Defendants’ Offer of Judgment shall be divided as follows:

       1.      Lionel Antonio Cruz, Sr. accepts judgment in his favor and against Saigon Kitchen,

               Inc. Lan Vu, and Phong Tran, jointly and severally, in the total gross amount of

               $12,490.51 in satisfaction of all Lionel Antonio Cruz, Sr.’s claims in the Complaint,

               exclusive of attorney fees and costs;

       2.      Lionel Antonio Cruz Cortez accepts judgment in his favor and against Saigon

               Kitchen, Inc. Lan Vu, and Phong Tran, jointly and severally, in the total gross

               amount of $5,509.49 in satisfaction of all Lionel Antonio Cruz Cortez’s claims in

               the Complaint, exclusive of attorney fees and costs;

       3.      Plaintiffs will file a petition for fees and costs by July 6, 2018.

       4.      A Proposed Order of Judgment is attached hereto.



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       WHEREFORE, the Parties jointly request the Court enter Judgment against Defendants,

Jointly and Severally, as set forth above.



                                             Respectfully submitted,

                                             ______-S-___________________
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                                             J. Barrett Kelly (Bar No. 1019475)
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                                             Counsel for Plaintiffs


                                             /s/ _____________    __      ______
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                                             Counsel for Defendants



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of June, 2018, a copy of the foregoing was
served via the Electronic Case File to all counsel of record.


                                                            _____-S-________________
                                                            Michael K. Amster




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